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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      Case No. 18-21365-Civ-WILLIAMS/TORRES

   ST. LOUIS CONDOMINIUM
   ASSOCIATION INC.,

         Plaintiff,

   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.

   ___________________________________________/

        ORDER ON DEFENDANT’S MOTION FOR PROTECTIVE ORDER

         This matter is before the Court on Rockhill Insurance Company’s

   (“Defendant”) motion for protective order against St. Louis Condominium

   Association, Inc. (“Plaintiff”). [D.E. 79]. Plaintiff responded to Defendant’s motion

   on December 13, 2018 [D.E. 90] to which Defendant replied on December 20, 2018.

   [D.E. 95]. Therefore, Defendant’s motion is now ripe for disposition. After careful

   consideration of the motion, response, reply, relevant authority, and for the reasons

   discussed below, Defendant’s motion is GRANTED.

                                    I.       BACKGROUND

         Plaintiff filed this action on March 5, 2018 in Florida state court and

   Defendant removed it on April 6, 2018 based on diversity jurisdiction. This case is a

   property insurance coverage dispute pursuant to an insurance policy that

   Defendant issued to Plaintiff.        The policy relates to a property located at 800



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   Claughton Island Drive, Miami, Florida 33131 (the “Property”) for the period of

   December 31, 2016 to December 31, 2017. The policy provided insurance coverage

   in the amount of twenty million dollars.        Because of Hurricane Irma, Plaintiff

   alleges that that the Property sustained significant damage and that Defendant

   failed to cover the damages as required under the policy.

                          II.   APPLICABLE PRINCIPLES AND LAW

         “Rule 26(c) allows the issuance of a protective order if ‘good cause’ is shown.

   In addition to requiring good cause, this circuit has also required the district court

   to balance the interests of those requesting the order.         A ‘district court must

   articulate its reasons for granting a protective order sufficient for appellate review.”’

   McCarthy v. Barnett Bank of Polk Cty., 876 F.2d 89, 91 (11th Cir. 1989) (citations

   omitted); see also Auto-Owners Ins. Co. v. Southeast Floating Docks, Inc., 231 F.R.D.

   426, 429–30 (M.D. Fla. 2005) (“Rule 26(c) provides that upon a showing of good

   cause, a court ‘may make any order which justice requires to protect a party or

   person from annoyance, embarrassment, oppression, or undue burden or expense.’

   The party seeking a protective order has the burden to demonstrate good cause, and

   must make ‘a particular and specific demonstration of fact as distinguished from

   stereotyped and conclusory statements’ supporting the need for a protective order.”)

   (citations omitted).

         “A non-party seeking a protective order has the initial burden of showing that

   the information sought is confidential and that the disclosure of that information

   might be harmful.        Once the non-party has established both prongs, the party




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   seeking to compel the disclosure must show that the discovery sought is both

   relevant to the pending action and necessary.” Coty Inc. v. C Lenu, Inc., 2010 WL

   5392887, at *3 (S.D. Fla. Dec. 22, 2010) (citing American Standard, Inc. v.

   Humphrey, 2007 WL 1186654, at *2–3 (M.D. Fla. Apr.19, 2007) (noting that “the

   party resisting discovery . . . has the burden to show that the information sought by

   [the p]laintiff is confidential and that disclosure would be harmful” and that “[o]nly

   after such a showing is made does the burden shift to the party seeking the

   discovery to show the information sought is relevant and necessary.”)) (citations

   omitted).

         It is well settled that “[t]he litigant seeking the protective order must

   articulate the injury with specificity.”    United States v. Dentsply Int’l, Inc., 187

   F.R.D. 152, 158 (D. Del. 1999) (citations omitted); see also United States v. Garrett,

   571 F.2d 1323, 1326 n. 3 (5th Cir. 1978) (finding that a party seeking a protective

   order must show not just speculative harm but must make a “particular and specific

   demonstration    of   fact   as   distinguished   from   stereotyped   and   conclusory

   statements”) (citations omitted); see also United States v. Dentsply Int’l, Inc., 187

   F.R.D. at 158 (“‘Broad allegations of harm, unsubstantiated by specific examples,’

   do not support a showing for good cause.”) (quoting Cipollone v. Liggett Group, Inc.,

   785 F.2d 1108, 1121 (3d Cir. 1986)).        “In other words, the party seeking the

   protective order must show good cause by demonstrating a particular need for

   protection” because “[b]road allegations of harm, unsubstantiated by specific

   examples or articulated reasoning, do not satisfy the Rule 26(c) test.” Trinos v.




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   Quality Staffing Servs. Corp., 250 F.R.D. 696, 698 (S.D. Fla. 2008) (citing Cipollone

   v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986)); see also Gen. Dynamics

   Corp. v. Selb Mfg. Corp., 481 F.2d 1204, 1212 (8th Cir. 1973).

                                      III.   ANALYSIS

         Defendant seeks a protective order with respect to a deposition that was

   scheduled for November 30, 2018. As background, on November 16, 2018, Plaintiff

   served an amended notice of taking the deposition of Stephen Pesak (“Mr. Pesak”)

   on November 28, 2018 in New York City. Defendant flew to New York City to

   defend the deposition and appeared at 9:00 a.m.       When Defendant arrived, she

   learned that the deposition had been cancelled. Defendant claims that Plaintiff

   served the notice of cancellation at 8:23 a.m. when Defendant was in route to the

   deposition. Defendant claims that – despite numerous emails and phone calls –

   Plaintiff failed to provide any explanation for the cancellation of the deposition nor

   did Plaintiff confirm that the deposition scheduled1 two days later on November 30,

   2018 in Tampa, Florida would proceed. Defendant intended to fly directly to the

   deposition from New York to Tampa, but Plaintiff failed to respond to any of

   Defendant’s inquiries.   Because Defendant did not want to assume the risk of

   attending a deposition that may not take place, Defendant requests a protective

   order so that the deposition be cancelled with no penalty to Defendant.

          Plaintiff’s response is that, on November 27, 2018, Defendant served

   Plaintiff the documents responsive to the subpoena directed at Mr. Pesak. Upon

   receipt of the documents, Plaintiff claims that it forwarded several emails to

   1     The scheduled deposition was for one of Defendant’s experts, Paul Millard.


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   Defendant because of various issues concerning the production.         These emails

   allegedly went unanswered.       After further review of the production, Plaintiff

   suspected that Defendant was improperly withholding an unspecified number of

   documents. Plaintiff therefore cancelled the deposition in New York City because

   there were only two hours remaining of deposition time and the Court strictly

   enforces the seven-hour limit under the Federal Rules. At 11:40 p.m. the night

   before the deposition, Plaintiff states that it sent an e-mail to Defendant advising

   counsel that the deposition had been cancelled and that a notice of cancellation

   would soon follow.    As promised, Plaintiff served a notice of cancellation the

   following morning at 8:17 a.m.

         After the deposition was cancelled – and without responding to the emails

   Plaintiff sent the prior day – Plaintiff claims that Defendant served a nineteen-page

   privilege log at 8:39 a.m., confirming Plaintiff’s suspicions that documents had been

   withheld throughout the discovery process as a deliberate attempt to obstruct the

   deposition of Mr. Pesak. Shortly thereafter, on November 28, 2018, Plaintiff was in-

   flight from New York to Miami.         During that time, Defendant cancelled the

   deposition in Tampa because Plaintiff failed to respond to Defendant’s emails while

   on an airplane. Because Defendant’s conduct was willful, unprofessional, and in

   violation of Rule 45, Plaintiff concludes that Defendant’s motion should be denied,

   and that Defendant should be compelled to reimburse Plaintiff for any fees and

   costs associated with the preparation of its response.




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         After a thorough review of the arguments presented and the underlying

   communications between the parties, Defendant has set forth good cause for a

   protective order because the facts show that there was a level of uncertainty with

   respect to the deposition of Mr. Millard in Tampa, Florida. The uncertainty stems

   from Plaintiff’s cancellation of the deposition of Mr. Pesak on November 28, 2018 in

   New York City after Defendant had already travelled to that location.         When

   Plaintiff cancelled the deposition and Defendant could not reach Plaintiff on

   whether the deposition of Mr. Millard would move forward, it was reasonable for

   Defendant to conserve costs for a proceeding that might not occur. Plaintiff, on the

   other hand, suggests that Defendant failed to provide Plaintiff with enough time to

   confirm that Mr. Millard’s deposition would go forward. But, Plaintiff overlooks the

   fact that it also failed to provide Defendant with sufficient notice that the prior

   deposition of Mr. Pesak would not take place. This means that, while Plaintiff

   complains that Defendant did not attend the deposition of Mr. Millard, Plaintiff was

   also a contributing factor for the deposition not occurring. Therefore, Defendant’s

   motion for a protective order is GRANTED.

                                  IV. CONCLUSION

         For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that

   Defendant’s motion for a protective order is GRANTED. [D.E. 95].




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        DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of

   March, 2019.



                                           /s/ Edwin G. Torres
                                           EDWIN G. TORRES
                                           United States Magistrate Judge




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